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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE


IN RE:

                                               §                CASE NO. 18-11801
                                               §                      (Chapter 11)
 J & M SALES INC.                              §


 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS


        Please take notice that pursuant to § 1109(b) of the United States Bankruptcy Code,
if applicable, and Rules 2002 and 9010(b) of the Bankruptcy Rules, the undersigned
counsel requests that all notices given or required to be given in this case and all other
pleadings and notices of all matters of which notice is required or permitted to be given
under the Bankruptcy Code, Bankruptcy Rules and Local Bankruptcy Rules with respect
to the administration of this case be given to and served upon the following:

      SPRING BRANCH INDEPENDENT SCHOOL DISTRICT, FALLBROOK
      UTILITY DISTRICT, ALIEF INDEPENDENT SCHOOL DISTRICT, MISSION
      BEND MUNICIPAL UTILITY DISTRICT # 2, GALENA PARK
      INDEPENDENT SCHOOL DISTRICT, HARRIS COUNTY FRESH WATER
      SUPPLY DISTRICT # 51, HUMBLE INDEPENDENT SCHOOL DISTRICT,
      SPRING INDEPENDENT SCHOOL DISTRICT, CITY OF HOUSTON AND
      CITY OF ROSENBERG

                      c/o Owen M. Sonik
                      Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
                      1235 North Loop West
                      Suite 600
                      Houston, TX 77008
                      (713) 862-1860
                      (713) 862-1429 FAX
                      osonik@pbfcm.com

        Please take further notice that pursuant to § 1109(b) of the United States
Bankruptcy Code, if applicable, the foregoing request includes the notices and papers
referred to in Rule 2002 of the Bankruptcy Rules and also includes, without limitation, any
plan of reorganization and objections thereto, notices of any orders, pleading, motions,
applications, complaints, demands, hearings, requests or petitions, disclosure statements,
answering or reply papers, memoranda and briefs in support of any of the foregoing and
any other document brought before this Court with respect to these proceedings, whether




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formal or informal, whether written or oral, and whether transmitted or conveyed by mail,
delivery, telephone, telegraph, telex or otherwise.


                             Respectfully submitted,

                             PERDUE, BRANDON, FIELDER,
                             COLLINS & MOTT, L.L.P.
                             1235 North Loop West
                             Suite 600
                             Houston, TX 77008
                             (713) 862-1860
                             (713) 862-1429

                             Attorneys for Claimant


                             By:   /s/Owen M. Sonik
                               Owen M. Sonik
                               Bar No: 18847250




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                            CERTIFICATE OF SERVICE

I Owen M. Sonik do hereby certify that a true and correct copy of the above NOTICE OF
APPEARANCE AND REQUEST FOR SERVICE OF PAPERS, has been served upon the
parties listed on the Court’s ECF transmission list in this case via ECF e-notice, fax or
U.S. mail, on this 12th day of November, 2018.

J & M SALES INC.



                                                     /s/Owen M. Sonik
                                                     Owen M. Sonik
                                                     Bar No: 18847250




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